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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 LINDON WILSON,             §
                            §
      Plaintiff,            §
                            § CIVIL ACTION
 vs.                        §
                            § FILE NO.: ___________
 HORTON TRANSPORTATION      §
 LLC, CHEROKEE INSURANCE    §
 COMPANY, and TYLER YOTHER, §
                            §
      Defendants.           §
                            §

          DEFENDANTS HORTON TRANSPORTATION LLC,
        CHEROKEE INSURANCE COMPANY AND PURPORTED
     DEFENDANT TYLER YOTHER’S JOINT NOTICE OF REMOVAL

        COME NOW, HORTON TRANSPORTATION LLC and CHEROKEE

INSURANCE COMPANY, Defendants in the above-styled civil action, and

TYLER YOTHER, a purported Defendant in the above-styled civil action,

appearing specially and without waiving, but specifically reserving all defenses

arising from jurisdiction, service and process (hereinafter “Defendants”), and

hereby remove Civil Action File No. STSV2021000749 from the State Court of

Henry County to the United States District Court for the Northern District of

Georgia, Atlanta Division, pursuant to Fed. R. Civ. P. 81(c) and 28 U.S.C. §§

1332, 1441 and 1446, and as grounds for its removal state as follows:

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                                  STATEMENT OF THE CASE

                                           1.

        Defendants have been sued in a civil action brought in the State Court of

 Henry County, which is located within the Atlanta Division of the United States

 District Court for the Northern District of Georgia. Pursuant to 28 U.S.C. §

 1446(a), a true and correct copy of all of the process, pleadings, orders and

 documents from the State Court Action have been attached as Defendants’ Exhibit

 1 (hereinafter “D-1”).

                                           2.

        The present matter is an action for damages for bodily injuries stemming

from a May 30, 2019 motor vehicle accident involving Plaintiff Lindon Wilson and

Defendant Tyler Yother (hereinafter “the subject accident”). D-1, Complaint, ¶¶ 7-

10. Plaintiff makes claims against Defendant Tyler Yother for (i) ordinary

negligence and (ii) negligence per se. Id., Complaint, ¶¶ 10, 13-16, 36-37.

Plaintiff makes claims against Defendant Horton Transportation LLC for (i)

imputed liability for the actions of Defendant Tyler Yother and (ii) negligent

hiring, training and supervision. Id., Complaint, ¶¶ 17-20, 21-25 and 36-37.

Plaintiff makes claims against Defendant Cherokee Insurance Company for (i)




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direct action pursuant to O.C.G.A. § 40-2-140. Id., Complaint, ¶¶ 26-30 and 36-

37.

                                           3.

        The Complaint was filed on May 5, 2021, in the State Court of Henry

County, Civil Action File No. STSV2021000749. See D-1, Complaint. Defendant

Horton Transportation LLC was served with the Summons and Complaint on May

18, 2021. Defendant Cherokee Insurance Company was served with the Summons

and Complaint on May 6, 2021. Plaintiff alleges that Defendant Tyler Yother was

served with the Summons and Complaint on May 25, 2021; however, Defendant

Tyler Yother has to date raised affirmative defenses of insufficiency of process,

insufficiency of service of process, personal jurisdiction, statute of limitations and

laches.

             DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332(a)

                                           4.

        Plaintiff Lindon Wilson is a citizen of the State of Georgia. D-1, Complaint,

¶ 1. Defendant Tyler Yother is, and was at the time this lawsuit was filed, a citizen

of the State of Tennessee. D-1, Complaint, ¶ 4. Defendant Horton Transportation

LLC is, and was at the time this lawsuit was filed, a limited liability company

organized under the laws of the State of Tennessee, with its principal place of


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business in Tennessee and whose members are all citizens of the State of

Tennessee. D-1, Complaint, ¶ 2. Defendant Cherokee Insurance Company is, and

was at the time this lawsuit was filed, a corporation organized under the laws of the

State of Michigan with its principal place of business in the State of Michigan. D-

1, Complaint, ¶ 3. Therefore, there is complete diversity of citizenship between the

parties.

                                           5.

        Plaintiff’s Complaint avers that “[a]s a result of Defendants’ negligence,

Plaintiff has incurred past medical expenses in the amount of at least $125,508.60

and will continue to incur future medical expenses.” D-1, Complaint, ¶ 33.

Plaintiff’s Complaint also avers that “[a]s a result of Defendants’ negligence,

Plaintiff suffered severe and permanent injures . . . [and] missed time from work

and has a claim for past and future lost wages.” D-1, Complaint, ¶¶ 32, 34.

Plaintiff’s Complaint additionally avers that “Defendants’ conduct was reckless,

willful and wanton and demonstrates a conscious indifference to the consequences

of their actions and, therefore, entitles Plaintiff to an aware of punitive damages in

this matter.” D-1, Complaint, ¶ 37.




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                                           6.

        In determining whether the requisite $75,000.00 amount in controversy has

been established, jurisdiction “is proper if it is facially apparent from the complaint

that the amount in controversy exceeds the jurisdictional requirement.” Williams v.

Best Buy Co., Inc., 269 F.3d 1319 (11th Cir. 2001). In the present case, given the

damages claimed by Plaintiff, it is facially apparent from Plaintiff’s Complaint that

the requisite $75,000.00 amount in controversy requirement has been met.

                         ALL PROCEDURAL REQUIREMENTS
                        FOR REMOVAL HAVE BEEN SATISFIED

                                           7.

        This Joint Notice of Removal is filed within 30 days from the date that

 Defendant Horton Transportation LLC was served with the Summons and

 Complaint in this matter. Removal is, therefore, timely in accordance with 28

 U.S.C. § 1446(b).

                                           8.

        Pursuant to 28 U.S.C. § 1446(b)(2)(A), “all defendants who have been

properly joined and served must join in or consent to the removal of the action.”

Defendants Horton Transportation LLC, Tyler Yother and Cherokee Insurance

Company expressly consent to the removal of this action, and the requirements of

28 U.S.C. § 1446(b)(2)(A) have been met.

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                                           CONCLUSION

        By this Joint Notice of Removal, Defendants Horton Transportation LLC,

Tyler Yother and Cherokee Insurance Company do not waive any objections they

may have as to service, jurisdiction or venue, or any other defenses or objections

they may have to this action. Defendants Horton Transportation LLC, Tyler

Yother and Cherokee Insurance Company intend no admission of fact, law or

liability by this Notice and expressly reserve all defenses, motions and/or pleas.

        WHEREFORE, Defendants Horton Transportation LLC, Tyler Yother and

Cherokee Insurance Company pray that the case be removed to the United States

District Court for the Northern District of Georgia, Atlanta Division.

        This 9th day of June, 2021.

                                              CRUSER, MITCHELL, NOVITZ,
                                              SANCHEZ, GASTON & ZIMET, LLP



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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the undersigned has this day electronically filed

the within and foregoing DEFENDANTS HORTON TRANSPORTATION

LLC, CHEROKEE INSURANCE COMPANY AND PURPORTED

DEFENDANT TYLER YOTHER’S JOINT NOTICE OF REMOVAL with

the Clerk of Court using the CM/ECF system which will automatically send e-mail

notification of such filing to the following attorneys of record:

        Michael L. Goldberg, Esq.                       Mitchell E. McGough, Esq.
          Eric J.D. Rogers, Esq.                      Mitchell E. McGough Law, LLC
           Adam P. Smith, Esq.                       945 E. Paces Ferry Rd. Suite 2250
           Fried Goldberg LLC                               Atlanta, GA 30326
     Three Alliance Center, Suite 1500                     Attorney for Plaintiff
         3550 Lenox Road, N.E.
           Atlanta, GA 30326
          Attorneys for Plaintiff

        I FURTHER CERTIFY that the undersigned has mailed copies of the entire

pleading referenced above to all counsel of record at the above address.

                              CERTIFICATE OF COMPLIANCE

        Undersigned counsel certify the foregoing document has been prepared with

one of the font and point selections (Times New Roman, 14 point) approved by the

Court in Local Rule 5.1(C).

                                [Signature contained on next page.]



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        This 9th day of June, 2020.

                                           CRUSER, MITCHELL, NOVITZ,
                                           SANCHEZ, GASTON & ZIMET, LLP



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